             Case 2:19-cr-00112-WBS Document 34 Filed 08/20/19 Page 1 of 2


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 6   Attorney for Defendant
 7   MAURA N. MARTINEZ
 8
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                           EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                      2:19-CR-0112 WBS
12
13                              Plaintiff,         STIPULATION AND ORDER TO
                                                   MODIFY CONDITIONS OF
14                  v.                             PRETRIAL RELEASE
15
     MAURA N. MARTINEZ,
16
17                             Defendant.
18
19         Ms. MAURA N. MARTINEZ was released on conditions in July 2019 and is
20   supervised by the Pretrial Services Agency. After consultation with Assistant United States
21   Attorney Amy Hitchcock and Pretrial Services Officer Rene Basurto, the defense requests
22   and the government does not oppose, that Ms. MARTINEZ’s conditions of pretrial release
23   be modified as follows.
24         MODIFY the curfew time.
25         Specifically, it should change and allow her to leave her residence at 7:00 a.m.,
26   Monday through Friday, so she can take her 14-year old son to school.
27         All other conditions remain in full force and effect.
28          \\\\\



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             Case 2:19-cr-00112-WBS Document 34 Filed 08/20/19 Page 2 of 2


 1                                            Respectfully submitted,
 2
 3   Dated: August 15, 2019                   /s/Tasha Paris Chalfant
                                              TASHA PARIS CHALFANT
 4
                                              Attorney for Defendant
 5                                            MAURA N. MARTINEZ
 6
     Dated: August 15, 2019                   /s/ Tasha Paris Chalfant for
 7                                            AMY HITCHCOCK
                                              Assistant United States Attorney
 8                                            Counsel for Plaintiff
 9
10                                     ORDER
11
           IT IS SO ORDERED.
12
13
     Dated: August 19, 2019.
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